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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

ESTATE OF CHRISTOPHER                     )
BROOK FISHBECK, et al.,                   )
                                          )
                  Plaintiffs,             )
                                          )                  Civil Action No. 1:18-cv-2248-CRC
      v.                                  )
                                          )
THE ISLAMIC REPUBLIC OF IRAN, et al.,     )
                                          )
                  Defendants              )
__________________________________________)

            PLAINTIFFS’ BELLWETHER PREHEARING BRIEF AND
    EVIDENTIARY SUBMISSION AND MOTION TO ADMIT CERTAIN EXHIBITS
       AS EVIDENCE AND TO ADMIT EXPERT REPORTS BEFORE TRIAL

        Pursuant to the Minute Order of July 20, 2022, Plaintiffs now submit their prehearing brief

and documents related to the admissibility of evidence. Further, Plaintiffs respectfully move this

Court for an order admitting certain exhibits and expert reports as evidence before trial.

        I.         Introduction

        Plaintiffs have selected 15 attacks to present at the upcoming bellwether hearing. See ECF

No. 92. The primary purpose of the hearing is to prove attribution—i.e., that the bellwether attacks

were committed by terrorist groups that were materially supported by Iran. Plaintiffs previously

submitted a brief and evidence identifying those groups and detailing the material support Iran

provided them during the relevant timeframe. See generally ECF No. 84. Another purpose of the

hearing is to prove the fact of injury for the directly injured Plaintiffs (i.e., the non-solatium

Plaintiffs).

        In connection with the bellwether hearing, undersigned counsel will present the following

categories of evidence to the Court:

                  Live oral testimony (in person and by Zoom) of directly injured Plaintiffs;

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    Declarations, submitted pursuant to 28 U.S.C. § 1746, of directly injured Plaintiffs

     and other eyewitnesses to the attack;

    Live oral testimony of expert witnesses Daveed Gartenstein-Ross, Colonel Mark

     Lee Walters, U.S. Army (Ret.), and Michael Pregent;

    Expert reports and declarations of those same expert witnesses;

    Attack-specific documents from CENTCOM, including Intelligence analyses,

     Operation Reports, Improvised Explosive Device (IED) Reports, SIGACT Reports,

     Photographs, and Story Boards;

    Casualty or Overseas Death Reports from the appropriate military department

     completed and signed by order of the respective military branch authority;

    Official, De-Classified Memorandums from the Multi-National Force – Iraq,

     signed by commanding U.S. officers;

    U.S. Department of Defense News Releases, Press Statements, Unclassified

     Briefings, Official Historical Publications, Document Libraries/Archives, formally

     issued and published by the Department of Defense and available on its formal

     government websites and in its archives;

    Official, Declassified Multi-National Corps-Iraq (MNC-I) documents produced

     and released by CENTCOM, including Command Briefings, Area Assessment,

     Orders, Detainee Reports, Criminal Investigation Reports, Targeting Packages,

     Tactical Assessments, and Interrogation Reports;

    Official military records specific to the directly injured Plaintiffs, including Official

     Military Personnel Files, DD214/DD1300/DD2064 forms, medals and citations

     (e.g., Purple Hearts, Bronze Stars), Enlisted Record Briefs, and Discharge Orders.


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                Medical records of the directly injured Plaintiffs;

                Autopsy Reports completed by the Armed Forces Institute of Pathology, Office of

                 the Armed Forces Medical Examiner, or other government medical examination

                 office;

                Death Certificates; and

                Court filings, orders, and probate records related to the deceased Plaintiffs and their

                 estates.

       To streamline the hearing, Plaintiffs submit herewith documentary evidence related to the

bellwether attacks and ask that the Court deem these documents admitted in evidence. Those

documents are identified by categories in Section III below and specifically in Appendix A,

attached hereto.

       II.       Evidentiary Standard

       The evidentiary standard applicable to this case requires Plaintiffs to demonstrate their

right to relief “by evidence satisfactory to the court.” 28 U.S.C. § 1608(e). In light of Congress’s

purpose in enacting the terrorism exception to the jurisdictional immunity of a foreign state (28

U.S.C. §1605A)—to “compensate the victims of terrorism” and “punish foreign states who have

committed or sponsored such acts”—as well as the “difficulty in obtaining firsthand evidence and

eyewitness testimony” “from an absent and likely hostile sovereign,” courts are afforded great

latitude and flexibility in determining the type and quantum of evidence necessary to enter default

judgment against a foreign sovereign. Fritz v. Islamic Republic of Iran, 320 F. Supp. 3d 48, 57

(D.D.C. 2018); see also Force v. Islamic Republic of Iran, 464 F. Supp. 3d 323, 336 (D.D.C.

2020). Indeed, district courts have “an unusual degree of discretion over evidentiary rulings in a

FSIA case against a defaulting state sponsor of terrorism.” Owens v. Republic of Sudan, 864 F.3d


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751, 785 (D.C. Cir. 2017); accord Karcher, et. al. v. Islamic Republic of Iran, No. 1:16-cv-00232-

CKK, Nov. 27, 2018 Order (ECF No. 64) (exercising the court’s discretion to pre-admit exhibits).

       The FSIA “leaves it to the court to determine precisely how much and what kinds of

evidence the plaintiff must provide.” Han Kim v. Democratic People's Republic of Korea, 774

F.3d 1044, 1047 (D.C. Cir. 2014). In fact, “the quantum and quality of evidence that might satisfy

a court can be less than that normally required.” Abedini v. Gov't of Islamic Republic of Iran, 422

F. Supp. 3d 118, 128 (D.D.C. 2019); accord Sotloff v. Syrian Arab Republic, 525 F. Supp. 3d 121,

134 (D.D.C. 2021) (“In a FSIA default proceeding, a court can find that the evidence presented is

satisfactory when the plaintiff shows her claim has some factual basis, even if she might not have

prevailed in a contested proceeding.”).

       The D.C. Court of Appeals explained this unusual degree of discretion:

       For example, we have allowed plaintiffs to prove their claims using evidence that
       might not be admissible in a trial…This broad discretion extends to the admission
       of expert testimony, which, even in the ordinary case, does not constitute an abuse
       of discretion merely because the factual bases for an expert’s opinion are weak …
       Section 1608(e) does not require a court to step into the shoes of the defaulting
       party and pursue every possible evidentiary challenge … This is part of the risk a
       sovereign runs when it does not appear and alert the court to evidentiary
       problems.

Owens, 864 F.3d at 785-86.

       As for expert opinions, they are “not only entirely proper, but often sufficient, and even

indispensable in terrorism cases…because firsthand evidence of terrorist activities is difficult, if

not impossible to obtain.” Fritz, 320 F. Supp. 3d at 57 (quoting Owens, 864 F.3d at 787-88); Force,

464 F. Supp. 3d at 336-37, 366. Moreover, “an expert is not limited to relying on admissible

evidence in forming his opinion,” since “experts don’t characteristically base their expert

judgments on legally admissible evidence; the rules of evidence are not intended for the guidance

of experts.” Boim v. Holy Land Found. for Relief & Dev., 549 F.3d 685, 704 (7th Cir. 2008)

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(interpreting expert opinion evidentiary rules). In fact, the Federal Rules of Evidence expressly

provide that expert opinions are admissible even if based on inadmissible facts or data provided

that they are the kind of facts and data “experts in the particular field would reasonably rely on.”

See Fed.R.Evid. 703. Expert testimony has special importance in FSIA default cases because “[t]he

types of records or direct evidence available in civil litigation are unlikely to be available in FSIA

cases – particularly when, as here, plaintiffs have no access to discovery.” Flanagan v. Islamic

Republic of Iran, 190 F. Supp. 3d 138, 175 (D.D.C. 2016).

       In addition, courts may receive and consider declarations (or affidavits) in lieu of live

testimony. See Lonnquist v. Islamic Republic of Iran, No. 17-cv-1630 (JDB) (D.D.C. Feb. 11,

2020), ECF No. 38 (considering affidavits of plaintiffs); R. & R. at 2, Chogo v. Republic of Sudan,

No. 15-cv-951 (JDB) (D.D.C. Oct. 10, 2019), ECF No. 41 (considering affidavit of plaintiff). See

28 U.S.C. § 1746 (declarations have the same legal effect as affidavits).

       As the Owens court stated, “[p]ursuant to the ‘broad approach to admissibility’ under Rule

803(8), a court may also admit ‘conclusion[s] or opinion[s]’ contained within a public record.” 864

F.3d at 792 (citing Beech Aircraft Corp. v. Rainey, 488 U.S. 153, 169 (1988)); see also Beech

Aircraft, 488 U.S. at 170 (“[a]s long as the conclusion is based on a factual investigation and

satisfies the Rule’s trustworthiness requirement, it should be admissible along with other portions

of the report.”). As shown below, the information contained in Plaintiffs’ proffered evidence is

trustworthy, and Defendants have not appeared in this action to argue otherwise. See, e.g., Union

Pac. R.R. Co. v. Kirby Inland Marine, Inc. of Miss., 296 F.3d 671, 679 (8th Cir. 2002) (burden of

showing untrustworthiness is on party opposing admission); Owens, supra (same). Accordingly,

the proposed exhibits should be admitted in their entirety.

         Further, a government report is admissible even if it contains a layer of hearsay from



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 unidentified witnesses. Holliday v. J S Exp., Inc., No. 4:12-cv-01732-ERW, 2013 WL 2395333,

 at *5 (E.D. Mo. May 30, 2013). An agency investigator’s reliance on hearsay evidence does not

 render the report itself untrustworthy. See id. See also Moss v. Ole S. Real Estate, Inc., 933 F.2d

 1300, 1309-10 (5th Cir. 1991) (“Many government reports, as with many expert witnesses, have

 to rely in part on hearsay evidence, and the reports are not generally excluded for this reason.”).

 This conclusion is guided by Fed. R. Evid. 703, which allows experts to rely on otherwise

 inadmissible facts to reach their opinions if experts in that field would reasonably rely on those

 facts in forming an opinion on that subject. Accordingly, “[t]here is no reason that government

 officials preparing reports do not have the same latitude.” Holliday, 2013 WL 2395333, at *5,

 citing Moss, 933 F.2d at 1310. In Holliday, the court held that “regardless of whether

 the [Department of Labor’s] conclusions were drawn from the statements of others, it does not

 render the Report inadmissible under Federal Rule of Evidence Rule 803(8).” Id.

       With respect to documentary evidence, they “need not be qualified as genuine pursuant to

Federal Rule of Evidence 901.” Cabrera v. Iran, No. 19cv-3835 (JDB) (D.D.C. July 19, 2022),

ECF No. 79, p. 4. Instead, “[a]uthentication may be made by counsel’s representation that a

proffered document is genuine and is an accurate copy of what counsel proffers it to be.” Id.

       III.    Documentary Evidence

       The documents Plaintiffs are now requesting be admitted are directly related to the

bellwether attacks and are identified in the attached appendix, which identifies the documents

Plaintiffs now seek to admit. Those same documents (other than those being filed under seal) are

also attached hereto.

       The admissibility of these documents is based on the following:




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     Signed declarations that contain the requisite language in 28 U.S.C. § 1746 are

      valid and admissible. See Fed.R.Evid. 602 and 803(6), (8) Stephenson v. Fam. Sols.

      of Ohio, Inc., 2020 WL 6685301, at *5–6 (N.D. Ohio Nov. 12, 2020)

      (“electronically signed declarations that contain the requisite language noted above

      are sufficient to comply with § 1746”); Hale v. Emporia State Univ., 2018 WL

      5884543, at *2 (D. Kan. Nov. 9, 2018) (declaration with electronic signature

      complied with § 1746).

     Expert reports and declarations are admissible under 28 U.S.C. § 1746 and

      Fed.R.Evid. 702-703.

     Public records, including death certificates, autopsy reports, and military records

      are admissible under Fed.R.Evid. 803(6) and (8).

     Court filings and court records are admissible under Fed.R.Evid. 803(8) and

      Fed.R.Civ.P. 44.

     Medical records are admissible under Fed.R.Evid. 803(4), (6).

     Official military documents, including those produced by CENTCOM, official, de-

      classified memorandums, casualty or overseas death reports, and Department of

      Defense News Releases, Press Statements, and other formal publications, are

      admissible as official government records. See Fed.R.Evid. 803(6) and (8);

      LaBonte v. United States, 150 Fed. Cl. 552, 559 (2020).

     Military records that pertain to specific servicemembers are also admissible as

      official government records. See Fed.R.Evid. 803(6) and (8); LaBonte v. United

      States, 150 Fed. Cl. 552, 559 (2020).




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       The admissibility of the documents is also supported by the attached declarations of

counsel attesting to their genuineness and accuracy. See Declarations of Christopher Paulos, Esq.,

Jeremy Tor, Esq., and David Teselle, Esq.

       IV.     Testimony

       At the hearing next week, Plaintiffs intend to present the following live testimony. The

method of testimony (live versus by Zoom) is also specified below.

  1.   April 4, 2004 “Black Sunday” Attack in Sadr City

       Live testimony:
           Expert testimony from Dr. Daveed Gartenstein-Ross
           In-person testimony from Plaintiff Sgt. Salvador Beltran-Soto
           In-person testimony from Plaintiff Pvt. Anthony Ferris
           In-person testimony from Plaintiff Sgt. Franklin Doss

  2.   November 14, 2004 Complex Attack in Fallujah

       Live testimony:
           Expert testimony from Dr. Daveed Gartenstein-Ross
           In-person testimony from Plaintiff HM2 Samuel Williams
           In-person testimony from Plaintiff GySgt. Shane Housmans

  3.   January 26, 2005 Complex Attack in Haqlaniyah

       Live testimony:
           Expert testimony from Dr. Daveed Gartenstein-Ross
           In-person testimony from Plaintiff Juan Rubio

  4.   April 16, 2005 Rocket Attack in Ramadi

       Live testimony:
           Expert testimony from Dr. Daveed Gartenstein-Ross
           In-person testimony from Plaintiff Spc. Jose Jauregui

  5.   April 9, 2008 IED Attack in Golden Hills, Salah al Din

       Live testimony:
           Expert testimony from Dr. Daveed Gartenstein-Ross

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6.   February 19, 2005 PBIED Attack in Kadhimiya

     Live testimony:
         In-person testimony from Plaintiff Sgt. Joshua Coy
         Expert testimony from Colonel Mark Lee Walters, U.S. Army (Ret.)

7.   September 17, 2006 EFP Attack in Adhamiya

     Live testimony:
         In-person testimony from Plaintiff Spc. Endi Cisneros Herrera;
         Expert testimony from Colonel Mark Lee Walters, U.S. Army (Ret.);

8.   February 22, 2007 IED Attack in Ramadi

     Live testimony:
         Zoom testimony from Plaintiff Sfc. Raleigh Heekin;
         Expert testimony from Colonel Mark Lee Walters, U.S. Army (Ret.);

9.   March 23, 2008 Rocket Attack in Green Zone, Baghdad

     Live testimony:
         Zoom testimony from Plaintiff Spc. Phillip Trimble
         Expert testimony from Colonel Mark Lee Walters, U.S. Army (Ret.);

10. April 21, 2008 IED Attack in Salah al Din

     Live testimony:
         Expert testimony from Colonel Mark Lee Walters, U.S. Army (Ret.);

11. April 5, 2005 VBIED Attack in Dora

     Live testimony:
         Live testimony from Steve Nunez Jr.
         Expert testimony from Michael Pregent

12. May 9, 2005 Mortar Attack in Karma

     Live testimony:
         Zoom testimony from Brian Jenkins
         Live testimony from Nicholas Siewert
         Expert testimony from Michael Pregent

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  13. June 4, 2006 IED Attack in Tarmiyah

       Live testimony:
           Live testimony from Paul Eric Haines
           Expert testimony from Michael Pregent

  14. November 14, 2006 EFP Attack in Kadhimiya

       Live testimony:
           Live testimony from Larry Cabral
           Expert testimony from Michael Pregent

  15. March 12, 2008 Rocket Attack at Tallil Air Base

       Live testimony:
           Live testimony from Joel Tavera
           Expert testimony from Michael Pregent

       V.      Conclusion

       Given the broad approach to admissibility set forth by the Supreme Court in Beech Aircraft,

and the reasons set forth above, Plaintiffs respectfully request that the Court admit into evidence

before trial the documents and reports noted herein and attached hereto. See Appendix A.


Dated: September 6, 2022                     Respectfully submitted,

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